B1 (Official Form 1)Case
                     (04/13)   15-20716             Doc 1          Filed 06/15/15             Entered 06/15/15 14:35:15                        Desc Main
                                       UNITED STATES BANKRUPTCYDocument
                                                               COURT                          Page 1 of 50
                                                                                                                                     VOLUNTARY PETITION
                               NORTHERN DISTRICT OF ILLINOIS
                                  __________
 Name of Debtor (if individual, enter Last, First, Middle):                                    Name of Joint Debtor (Spouse) (Last, First, Middle):
Hallahan, Julie A.
 All Other Names used by the Debtor in the last 8 years                                        All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                   (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all): 1393                                                           (if more than one, state all):

 Street Address of Debtor (No. and Street, City, and State):                                   Street Address of Joint Debtor (No. and Street, City, and State):
755 Samantha Circle
Geneva, Illinois
                                                         ZIP CODE                   60134                                                         ZIP CODE
 County of Residence or of the Principal Place of Business:                                    County of Residence or of the Principal Place of Business:
KANE
 Mailing Address of Debtor (if different from street address):                                 Mailing Address of Joint Debtor (if different from street address):



                                                           ZIP CODE                                                                                 ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                    ZIP CODE
                           Type of Debtor                                        Nature of Business                          Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                           the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                        X     Chapter 7                  Chapter 15 Petition for
  X     Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in            Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                              Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                 Railroad                                          Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                       Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                             Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                           Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                           Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                    (Check one box.)
                                                                                                                       X   Debts are primarily consumer            Debts are
                                                                          Debtor is a tax-exempt organization              debts, defined in 11 U.S.C.             primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States              § 101(8) as “incurred by an             business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).                individual primarily for a
                                                                                                                           personal, family, or
                                                                                                                           household purpose.”
                                   Filing Fee (Check one box.)                                                                 Chapter 11 Debtors
                                                                                               Check one box:
  X     Full Filing Fee attached.                                                                  Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is         Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.              Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                   insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must               on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.         -----------------------------------
                                                                                               Check all applicable boxes:
                                                                                                   A plan is being filed with this petition.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                   of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
  X        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  X

 1-49          50-99          100-199           200-999     1,000-         5,001-         10,001-          25,001-           50,001-          Over
                                                            5,000          10,000         25,000           50,000            100,000          100,000

 Estimated Assets
  X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100          to $500           to $1 billion    $1 billion
                                                million     million        million        million          million
 Estimated Liabilities
                               X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100          to $500           to $1 billion    $1 billion
                                                million     million        million        million          million
B1 (Official Form 1)Case
                     (04/13) 15-20716           Doc 1 Filed 06/15/15 Entered 06/15/15 14:35:15                                                    Desc Main
 Voluntary Petition                                          Document                Page
                                                                                       Name of2    of 50Hallahan, Julie A.
                                                                                                Debtor(s):
 (This page must be completed and filed in every case.)
 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                              Case Number:                                              Date Filed:
 Where Filed: NONE
 Location                                                                              Case Number:                                              Date Filed:
 Where Filed:
 Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                       Case Number:                                              Date Filed:
                        NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X       s//s/Stephanie K. Low                  June 15, 2015
                                                                                                    Signature of Attorney for Debtor(s)       (Date)



                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

  X     No.


                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

   X   Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
               X       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)Case
                     (04/13) 15-20716           Doc        1     Filed 06/15/15 Entered 06/15/15 14:35:15                                      Desc Main                     Page 3
 Voluntary Petition                                                Document     Page
                                                                                Name of 4 of 50 Hallahan, Julie A.
                                                                                        Debtor(s):
 (This page must be completed and filed in every case.)
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X    s/Julie A. Hallahan                                                                    X
      Signature of Debtor                   Julie A. Hallahan                                     (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
      June 15, 2015                                                                               Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X    s//s/Stephanie K. Low                                                                  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Stephanie K. Low                                                                       provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Serrano, Low & Hanson                                                                  guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
      431 Williamsburg Ave                                                                   or accepting any fee from the debtor, as required in that section. Official Form 19 is
      Geneva, Illinois 60134                                                                 attached.
      Address
      (630) 844-8781
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
      June 15, 2015
      Date
                                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                  state the Social-Security number of the officer, principal, responsible person or
                                                                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the information
 in the schedules is incorrect.
                                                                                                  Address
                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true   X
 and correct, and that I have been authorized to file this petition on behalf of the              Signature
 debtor.

 The debtor requests the relief in accordance with the chapter of title 11, United States         Date
 Code, specified in this petition.
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
 X                                                                                           partner whose Social-Security number is provided above.
      Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or assisted
      Printed Name of Authorized Individual                                                  in preparing this document unless the bankruptcy petition preparer is not an
                                                                                             individual.
      Title of Authorized Individual
                                                                                             If more than one person prepared this document, attach additional sheets conforming
      Date
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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B6A (Official Form 6A) (12/07)

In re Julie A. Hallahan,                                                                                  Case No.
                                            Debtor                                                                               (If known)


                                        SCHEDULE A - REAL PROPERTY




                                                                                          Husband, Wife, Joint,
                                                                                                                    CURRENT VALUE




                                                                                             or Community
                                                                                                                      OF DEBTOR’S
                  DESCRIPTION AND                                                                                     INTEREST IN      AMOUNT OF
                                                       NATURE OF DEBTOR’S
                    LOCATION OF                                                                                   PROPERTY, WITHOUT     SECURED
                                                      INTEREST IN PROPERTY
                     PROPERTY                                                                                       DEDUCTING ANY        CLAIM
                                                                                                                    SECURED CLAIM
                                                                                                                     OR EXEMPTION




 Primary Residence - Single Family Home              Debtor is trustee of the Webster
                                                     Family Revocable Living Trust               C                            $0.00           $400,000.00
 755 Samantha Circle, Geneva IL 60134                Agreement dated 11/20/1990




                                                                                        Total ►                               $0.00


                                                      (Report also on Summary of Schedules.)
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B 6B (Official Form 6B) (12/2007)

In re Julie A. Hallahan,                                                                                Case No.
                                                    Debtor                                                                           (If known)


                                      SCHEDULE B - PERSONAL PROPERTY




                                                                                                          Joint, Or Community
                                                                                                                                  CURRENT VALUE OF




                                                                                                             Husband, Wife,
                                               N                                                                                DEBTOR’S INTEREST IN
                                               O           DESCRIPTION AND LOCATION                                              PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                               N                 OF PROPERTY                                                       DEDUCTING ANY
                                               E                                                                                   SECURED CLAIM
                                                                                                                                    OR EXEMPTION


 1. Cash on hand.                                                                                                W                                 $400.00


 2. Checking, savings or other financial            5/3 Bank Checking, titled individually under               W                                   $243.00
 accounts, certificates of deposit or shares        Debtor, endin gin 3487
 in banks, savings and loan, thrift,
 building and loan, and homestead
 associations, or credit unions, brokerage
 houses, or cooperatives.


                                                    5/3 Bank Savings, title individually under Debtor          W                                   $134.00
                                                    endin in 6406




 3. Security deposits with public utilities,
 telephone companies, landlords, and           X
 others.

 4. Household goods and furnishings,                household items including 2 beds, sofa, family room           J                               $4,000.00
 including audio, video, and computer               furniture; dining room set purchased 8 years ago
 equipment.


 5. Books; pictures and other art objects;
 antiques; stamp, coin, record, tape,
                                               X
 compact disc, and other collections or
 collectibles.

 6. Wearing apparel.                           X

 7. Furs and jewelry.                               3 pairs gold earrings                                      W                                   $300.00



 8. Firearms and sports, photographic,
                                               X
 and other hobby equipment.

 9. Interests in insurance policies. Name
 insurance company of each
                                               X
 policy and itemize surrender or
 refund value of each.

 10. Annuities. Itemize and name each
                                               X
 issuer.
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B 6B (Official Form 6B) (12/2007)

In re Julie A. Hallahan,                                                                              Case No.
                                                    Debtor                                                                             (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
                                                                 (Continuation Sheet)




                                                                                                            Joint, Or Community
                                                                                                                                    CURRENT VALUE OF




                                                                                                               Husband, Wife,
                                                N                                                                                 DEBTOR’S INTEREST IN
                                                O          DESCRIPTION AND LOCATION                                                PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                N                OF PROPERTY                                                         DEDUCTING ANY
                                                E                                                                                    SECURED CLAIM
                                                                                                                                      OR EXEMPTION



 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
                                                X
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)

 12. Interests in IRA, ERISA, Keogh, or             401(k) Through Albertsons INC                                   J                               $32,698.00
 other pension or profit sharing plans.
 Give particulars.


 13. Stock and interests in incorporated
                                                X
 and unincorporated businesses. Itemize.

 14. Interests in partnerships or joint
                                                X
 ventures. Itemize.

 15. Government and corporate bonds and
 other negotiable and nonnegotiable             X
 instruments.

 16. Accounts receivable.                       X

 17. Alimony, maintenance, support, and
 property settlements to which the debtor       X
 is or may be entitled. Give particulars.

 18. Other liquidated debts owed to debtor
                                                X
 including tax refunds. Give particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than       X
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent                   Julie Hallahan as trustee of the Webster Family                C                                     $0.00
 interests in estate of a decedent, death           Revocable Living Trust Agreement dated 11/20/90.
 benefit plan, life insurance policy, or            Current residence is only item in the trust. Property
 trust.                                             is in foreclosure




 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and      X
 rights to setoff claims. Give estimated
 value of each.

 22. Patents, copyrights, and other
                                                X
 intellectual property. Give particulars.
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B 6B (Official Form 6B) (12/2007)

In re Julie A. Hallahan,                                                                           Case No.
                                                     Debtor                                                                      (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                  (Continuation Sheet)




                                                                                                      Joint, Or Community
                                                                                                                              CURRENT VALUE OF




                                                                                                         Husband, Wife,
                                              N                                                                             DEBTOR’S INTEREST IN
                                              O             DESCRIPTION AND LOCATION                                         PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                              N                   OF PROPERTY                                                  DEDUCTING ANY
                                              E                                                                                SECURED CLAIM
                                                                                                                                OR EXEMPTION



 23. Licenses, franchises, and other
                                              X
 general intangibles. Give particulars.

 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C. §
 101(41A)) provided to the debtor by
                                              X
 individuals in connection with obtaining
 a product or service from the debtor
 primarily for personal, family, or
 household purposes.

 25. Automobiles, trucks, trailers, and              2004 Toyota Four Runner with approx 156k miles        W                                   $7,338.00
 other vehicles and accessories.


 26. Boats, motors, and accessories.          X

 27. Aircraft and accessories.                X

 28. Office equipment, furnishings, and
                                              X
 supplies.

 29. Machinery, fixtures, equipment, and
                                              X
 supplies used in business.

 30. Inventory.                               X

 31. Animals.                                 X

 32. Crops - growing or harvested. Give
                                              X
 particulars.

 33. Farming equipment and implements.        X

 34. Farm supplies, chemicals, and feed.      X

 35. Other personal property of any kind
                                              X
 not already listed. Itemize.


                                              2 continuation sheets attached         Total ►                                                  $45,113.00
                                                         (Include amounts from any continuation
                                                           sheets attached. Report total also on
                                                                 Summary of Schedules.)
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 B6C (Official Form 6C) (04/13)

 In re Julie A. Hallahan,                                                                       Case No.
                             Debtor                                                                                    (If known)


                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                             $155,675.*
  11 U.S.C. § 522(b)(2)
  11 U.S.C. § 522(b)(3)


                                                                                                                          CURRENT
                                                                      SPECIFY LAW
                                                                                            VALUE OF CLAIMED         VALUE OF PROPERTY
                  DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                               EXEMPTION             WITHOUT DEDUCTING
                                                                       EXEMPTION
                                                                                                                         EXEMPTION

                                                                   11 USC §
   401(k) Through Albertsons INC                                                                       $32,698.00                $32,698.00
                                                                   522(b)(3)(C)

                                                                   735 ILCS 5/12-
   2004 Toyota Four Runner with approx 156k miles                                                        $4,000.00                  $7,338.00
                                                                   1001(b)
                                                                   735 ILCS 5/12-
                                                                                                         $2,400.00
                                                                   1001(c)




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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 B 6D (Official Form 6D) (12/07)                                                                              Document     Page 10 of 50

 In re ____________________________________,
       Julie A. Hallahan                                                                                                                                                                                                           Case No. __________________________________
                                                                                             Debtor                                                                                                                                                       (If known)

                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           □          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                                            HUSBAND, WIFE,




                                                                                                                                                                                                                           UNLIQUIDATED
   CREDITOR’S NAME AND                                                                                                              DATE CLAIM WAS                                                                                                                                               AMOUNT OF CLAIM                                       UNSECURED




                                                                                                                                                                                        CONTINGENT
                                                                                             COMMUNITY
                                                           CODEBTOR
      MAILING ADDRESS                                                                                                                  INCURRED,                                                                                                                                                     WITHOUT                                           PORTION, IF

                                                                                              JOINT, OR




                                                                                                                                                                                                                                                                DISPUTED
  INCLUDING ZIP CODE AND                                                                                                            NATURE OF LIEN ,                                                                                                                                             DEDUCTING VALUE                                          ANY
    AN ACCOUNT NUMBER                                                                                                                     AND                                                                                                                                                     OF COLLATERAL
     (See Instructions Above.)                                                                                                        DESCRIPTION
                                                                                                                                     AND VALUE OF
                                                                                                                                       PROPERTY
                                                                                                                                    SUBJECT TO LIEN
 ACCOUNT NO. 0170                                                                                                              2009-02
                                                                                                                              First Mortgage
First State Bank Of Il
128 E Main St                                                                                                                 755 Samantha Court,
La Harpe, IL 61450                                                                                                            Geneva IL, titled under                                                                                                                                                       $400,000.00
                                                                                                                              Webster Family Trust C/O
                                                                                                                              Julie Hallahan Trustee
                                                                                                                                   VALUE $ $440,000.00
                                     ———————————————————



                                                                      ———————————————————




                                                                                                             ———————————————————




                                                                                                                                                                  ———————————————————




                                                                                                                                                                                                     ———————————————————




                                                                                                                                                                                                                                          ———————————————————




                                                                                                                                                                                                                                                                           ———————————————————




                                                                                                                                                                                                                                                                                                                              ———————————————————
ACCOUNT NO. h877
—————————————————————————————————
                                                                                                                               2009, foreclosure
                                                                                                                              First Mortgage
Lorenzini & Associates
1900 Spring Road                                                                                                              Julie Hallahan as trustee of the
Suite 501                                                                                                                     Webster Family Revocable                                                                                                                                                               $0.00
Oak Brook, IL 60523                                                                                                           Living Trust Agreement dated
Full Account No.: 14ch877                                                                                                     See Attachment 1
                                                                                                                        ———————————————————————
                                                                                                                                   VALUE $
—————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————————
                                                                                                                                                          $0.00




 ____
   0 continuation sheets                                                                                                           Subtotal ►                                                                                                                                                    $            400,000.00 $                                             0.00
      attached                                                                                                                     (Total of this page)
                                                                                                                                   Total ►                                                                                                                                                       $           400,000.00 $                                              0.00
                                                                                                                                   (Use only on last page)
                                                                                                                                                                                                                                                                                                 (Report also on Summary of                         (If applicable, report
                                                                                                                                                                                                                                                                                                 Schedules.)                                        also on Statistical
                                                                                                                                                                                                                                                                                                                                                    Summary of Certain
                                                                                                                                                                                                                                                                                                                                                    Liabilities and Related
                                                                                                                                                                                                                                                                                                                                                    Data.)
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                                       Attachment

Attachment 1
    11/20/90. Current residence is only item in the trust. Property is in foreclosure
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B 6E (Official Form 6E) (04/13)

       In re
                 Julie A. Hallahan                                                     ,              Case No.
                                                             Debtor                                                       (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.


                                                            0 continuation sheets attached
                                                           ____
               Case 15-20716                      Doc 1                    Filed 06/15/15 Entered 06/15/15 14:35:15                                                  Desc Main
B 6E (Official Form 6E) (04/13) – Cont.
                                                                            Document     Page 13 of 50

      Julie A. Hallahan
In re __________________________________________,                                                      Case No. _________________________________
                    Debtor                                                                                               (if known)


   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                      (Continuation Sheet)

                                                                                                                                              Type of Priority for Claims Listed on This Sheet

                                                                                                                                              -




                                                                                                                    UNLIQUIDATED
       CREDITOR’S NAME,                                                     DATE CLAIM WAS                                                        AMOUNT           AMOUNT        AMOUNT




                                                                                                       CONTINGENT
                                                          HUSBAND, WIFE,

                                                           COMMUNITY
        MAILING ADDRESS                                                      INCURRED AND                                                           OF             ENTITLED         NOT

                                                            JOINT, OR




                                                                                                                                   DISPUTED
      INCLUDING ZIP CODE,                                                   CONSIDERATION                                                          CLAIM              TO         ENTITLED
                                               CODEBTOR


     AND ACCOUNT NUMBER                                                        FOR CLAIM                                                                           PRIORITY          TO
       (See instructions above.)                                                                                                                                                PRIORITY, IF
                                                                                                                                                                                    ANY




            1 of ___
 Sheet no. ___     0 continuation sheets attached to Schedule                                              Subtotals'                         $          0.00 $          0.00           $0.00
 of Creditors Holding Priority Claims                                                             (Totals of this page)

                                                                                                               Total'                         $
                                                                           (Use only on last page of the completed
                                                                           Schedule E. Report also on the Summary
                                                                           of Schedules.)

                                                                                                               Totals'                                         $                $
                                                                           (Use only on last page of the completed
                                                                           Schedule E. If applicable, report also on
                                                                           the Statistical Summary of Certain
                                                                           Liabilities and Related Data.)
B 6F (Official FormCase     15-20716
                   6F) (12/07)             Doc 1                               Filed 06/15/15 Entered 06/15/15 14:35:15                                                                               Desc Main
                                                                                Document     Page 14 of 50
         Julie A. Hallahan
   In re _________________________________________________________,                                                         Case No. _________________________________
                                           Debtor                                                                                                   (if known)
       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                               HUSBAND, WIFE,

                                                                                COMMUNITY
           CREDITOR’S NAME,                                                                                    DATE CLAIM WAS                                                                                                   AMOUNT OF




                                                                                                                                                                          UNLIQUIDATED
                                                                                 JOINT, OR




                                                                                                                                                 CONTINGENT
                                                        CODEBTOR
            MAILING ADDRESS                                                                                     INCURRED AND                                                                                                      CLAIM




                                                                                                                                                                                                     DISPUTED
          INCLUDING ZIP CODE,                                                                                CONSIDERATION FOR
         AND ACCOUNT NUMBER                                                                                         CLAIM.
               See instructions above.                                                                      IF CLAIM IS SUBJECT TO
                                                                                                               SETOFF, SO STATE.
                                            —————————

                                                                   —————————




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                                                                                                                                                                                         —————————

                                                                                                                                                                                                                —————————
      ACCOUNT NO. 9827                                                                                2001-04
      ————————————————
                                                                                                      Credit Card Charges
      Chase Bp Prvt Lbl                                                                                                                                                                                                             $412.00
      P.o. Box 15298
      Wilmington, DE 19850

      ———————————————————————————————————————————————————
                                            —————————

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                                                                                                                                                                                                                —————————
      ACCOUNT NO. 4926                                                                                2003-11
      ————————————————
                                                                                                      Credit Card Charges
      Chase Card                                                                                                                                                                                                                  $31,871.00
      Po Box 15298
      Wilmington, DE 19850

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      ACCOUNT NO. 1426                                                                                2005-08
      ————————————————
                                                                                                      Credit Card Charges
      GECRB/Sams Club                                                                                                                                                                                                             $10,446.00
      Po Box 965005
      Orlando, FL 32896

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      ACCOUNT NO. 4274           2014
      ————————————————
      Kevin W Mortell
      Attorney at Law            litigation attorney  notice only,
      1821 Walden Office Square                      attorneys for
      Suite 400
      Schaumburg, IL 60173                             collections
      Full Account No.: 14SC4273
      & 4274
      ———————————————————————————————————————————————————



                                                                                                                                                                              Subtotal'                                     $      42,729.00
         2
       _____continuation sheets attached                                                                                                              Total'                                                                $
                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                    (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                          Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     15-20716
                   6F) (12/07) - Cont.       Doc 1                               Filed 06/15/15 Entered 06/15/15 14:35:15                                                                                 Desc Main
                                                                                  Document     Page 15 of 50
      Julie A. Hallahan
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.
                                              —————————

                                                                     —————————




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      ACCOUNT NO. 7751                                                                                2003-08
      ————————————————
                                                                                                      ChargeAccount
      Kohls/capone                                                                                                                                                                                                                   $2,493.00
      Po Box 3115
      Milwaukee, WI 53201

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                                                                                                                                                                                                                  —————————
      ACCOUNT NO. 1050                                                                                2014-05
      ————————————————
                                                                                                      collections for CitiBank
      Midland Funding                                                                                                                                                                                                                $4,277.00
      8875 Aero Dr Ste 200
      San Diego, CA 92123

      ———————————————————————————————————————————————————
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      ACCOUNT NO. 1566                                                                                2014-03
      ————————————————
                                                                                                      collections for Citibank NA
      Midland Funding                                                                                                                                                                                                                $2,788.00
      8875 Aero Dr Ste 200
      San Diego, CA 92123

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      ACCOUNT NO. 8723                                                                                2014-01
      ————————————————
                                                                                                      collections for World
      Portfolio Recovery                                                                              Fiancial Network Bank 8723                                                                                                     $1,307.00
      120 Corporate Blvd Ste 1
      Norfolk, VA 23502

      ———————————————————————————————————————————————————


        Sheet no. 1 of 2 continuation sheets attached                                                                                                                             Subtotal'                                   $      10,865.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
B 6F (Official FormCase     15-20716
                   6F) (12/07) - Cont.       Doc 1                               Filed 06/15/15 Entered 06/15/15 14:35:15                                                                                 Desc Main
                                                                                  Document     Page 16 of 50
      Julie A. Hallahan
In re __________________________________________,                                                                             Case No. _________________________________
                      Debtor                                                                                                                    (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                                 HUSBAND, WIFE,




                                                                                                                                                                            UNLIQUIDATED
                                                                                  COMMUNITY
                                                                                                                 DATE CLAIM WAS




                                                                                                                                                   CONTINGENT
            CREDITOR’S NAME,



                                                          CODEBTOR


                                                                                   JOINT, OR




                                                                                                                                                                                                       DISPUTED
                                                                                                                  INCURRED AND
             MAILING ADDRESS
                                                                                                               CONSIDERATION FOR                                                                                                  AMOUNT OF
           INCLUDING ZIP CODE,
                                                                                                                      CLAIM.                                                                                                        CLAIM
          AND ACCOUNT NUMBER
               (See   instructions above.)                                                                    IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE.
                                              —————————

                                                                     —————————




                                                                                                  —————————




                                                                                                                                       —————————


                                                                                                                                                                —————————


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                                                                                                                                                                                                                  —————————
      ACCOUNT NO. 1234                                                                                2014-02
      ————————————————
                                                                                                      Collections for World
      Portfolio Recovery                                                                              Fniancial Network bank                                                                                                         $2,240.00
      120 Corporate Blvd Ste 1                                                                        1234
      Norfolk, VA 23502

      ———————————————————————————————————————————————————




        Sheet no. 2 of 2 continuation sheets attached                                                                                                                             Subtotal'                                   $       2,240.00
        to Schedule of Creditors Holding Unsecured
        Nonpriority Claims

                                                                                                                                                       Total'                                                                 $      55,834.00
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                            Summary of Certain Liabilities and Related Data.)
Case 15-20716             Doc 1      Filed 06/15/15 Entered 06/15/15 14:35:15                        Desc Main
                                      Document     Page 17 of 50
B 6G (Official Form 6G) (12/07)

In re Julie A. Hallahan,                                                     Case No.
                                             Debtor                                     (if known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 Check this box if debtor has no executory contracts or unexpired leases.


                                                              DESCRIPTION OF CONTRACT OR LEASE AND
      NAME AND MAILING ADDRESS,                                NATURE OF DEBTOR’S INTEREST. STATE
          INCLUDING ZIP CODE,                                 WHETHER LEASE IS FOR NONRESIDENTIAL
OF OTHER PARTIES TO LEASE OR CONTRACT.                           REAL PROPERTY. STATE CONTRACT
                                                              NUMBER OF ANY GOVERNMENT CONTRACT.
          Case 15-20716            Doc 1       Filed 06/15/15 Entered 06/15/15 14:35:15   Desc Main
                                                Document     Page 18 of 50
B 6H (Official Form 6H) (12/07)

In re Julie A. Hallahan,                                             Case No.
                                                   Debtor                             (if known)


                                               SCHEDULE H - CODEBTORS
 Check this box if debtor has no codebtors.


            NAME AND ADDRESS OF CODEBTOR                             NAME AND ADDRESS OF CREDITOR
                  Case 15-20716            Doc 1          Filed 06/15/15 Entered 06/15/15 14:35:15                         Desc Main
                                                           Document     Page 19 of 50
 Fill in this information to identify your case:


 Debtor 1            Julie A. Hallahan
                    ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                      Northern District of Illinois
 United States Bankruptcy Court for : ______________________        _

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status            
                                                                      X
                                                                        Employed                                       Employed
    employers.                                                         Not employed                                   Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name            Osco Drug through April 10, 2015
                                                                    __________________________________           __________________________________


                                         Employer’s address        _______________________________________     ________________________________________
                                                                    Number Street                               Number    Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                    IL
                                                                   _______________________________________     ________________________________________
                                                                     City           State  ZIP Code              City                State ZIP Code

                                         How long employed there?         _______
                                                                          24 years                                _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.     1,370.00               0.00
                                                                                             $___________           $____________

 3. Estimate and list monthly overtime pay.                                            3.      0.00
                                                                                            + $___________          0.00
                                                                                                                 + $____________

 4. Calculate gross income. Add line 2 + line 3.                                       4.     1,370.00
                                                                                             $__________             0.00
                                                                                                                    $____________



Official Form B 6I                                             Schedule I: Your Income                                                        page 1
                 Case 15-20716                        Doc 1            Filed 06/15/15 Entered 06/15/15 14:35:15                                        Desc Main
                                                                        Document     Page 20 of 50
Debtor 1         Julie A. Hallahan
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.      1,370.00
                                                                                                                          $___________           0.00
                                                                                                                                                $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.      253.85
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5d. Required repayments of retirement fund loans                                                            5d.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5e. Insurance                                                                                               5e.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5f. Domestic support obligations                                                                            5f.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     5g. Union dues                                                                                              5g.
                                                                                                                          0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     5h. Other deductions. Specify: __________________________________                                           5h.       0.00
                                                                                                                        + $____________          0.00
                                                                                                                                              + $_____________
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.      253.85
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      1,116.15
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                              0.00                   0.00
                                                                                                                         $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                          0.00                   0.00
                                                                                                                         $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8e. Social Security                                                                                         8e.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                           0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                            8g.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.       0.00
                                                                                                                        + $____________          0.00
                                                                                                                                              + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                          1,116.15
                                                                                                                         $___________     +      0.00
                                                                                                                                                $_____________    1,116.15
                                                                                                                                                               = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
             husband sends $400 per month to assist with expenses
    Specify: _______________________________________________________________________________                                                                           400.00
                                                                                                                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                12.
                                                                                                                                                                       1,516.15
                                                                                                                                                                      $_____________
                                                                                                                                                                      Combined
                                                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
          No.
     
     X
           Yes. Explain:
                               Debtor hopes to find a job

Official Form B 6I                                                                 Schedule I: Your Income                                                                page 2
                   Case 15-20716              Doc 1         Filed 06/15/15 Entered 06/15/15 14:35:15                             Desc Main
                                                             Document     Page 21 of 50
  Fill in this information to identify your case:

  Debtor 1          Julie A. Hallahan
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                       Northern District of Illinois
                                                                                                       A supplement showing post-petition chapter 13
  United States Bankruptcy Court for : ______________________        _                                    expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   X
        No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

               
               X
                     No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                  
                                            X
                                                No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                              No
                                                                                   _________________________                ________
   names.                                                                                                                                     Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                            
                                            X
                                                No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                               0.00
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.      0.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.      100.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.      0.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.      0.00
                                                                                                                              $_____________________

Official Form B 6J                                            Schedule J: Your Expenses                                                          page 1
                 Case 15-20716                Doc 1        Filed 06/15/15 Entered 06/15/15 14:35:15                     Desc Main
                                                            Document     Page 22 of 50
 Debtor 1        Julie A. Hallahan
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     160.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     0.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     189.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      500.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      50.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     100.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     0.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      400.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     100.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    60.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.    0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                         0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



 Official Form B 6J                                            Schedule J: Your Expenses                                                   page 2
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 Debtor 1        Julie A. Hallahan
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.     0.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                         1,659.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                          1,516.15
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.      1,659.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                          -142.85
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
      
      X
          Yes.     Explain here:
                 debtor is currently unemployed, seeking employment




 Official Form B 6J                                           Schedule J: Your Expenses                                                       page 3
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B 6 Summary (Official Form 6 - Summary) (12/14)



                                    UNITED STATES BANKRUPTCY COURT
                                                    ____________________________
                                                       NORTHERN DISTRICT OF ILLINOIS



      Julie A. Hallahan
In re ___________________________________,                                                Case No. ___________________
                  Debtor
                                                                                                  7
                                                                                          Chapter ____________

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property                                                                    $             0.00

 B - Personal Property                                                                $      45,113.00

 C - Property Claimed
     as Exempt

 D - Creditors Holding                                                                                      $       400,000.00
     Secured Claims

 E - Creditors Holding Unsecured                                                                            $                0.00
     Priority Claims
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $         55,834.00
     Nonpriority Claims


 G - Executory Contracts and
     Unexpired Leases


 H - Codebtors


 I - Current Income of                                                                                                              $        1,516.15
     Individual Debtor(s)

 J - Current Expenditures of Individual                                                                                             $        1,659.00
     Debtors(s)

                                          TOTAL                                       $      45,113.00 $            455,834.00
                                                                         0
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B 7 (Official Form 7) (04/13)
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                          UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF ILLINOIS


In re: Julie A. Hallahan                                                Case No
                                 Debtor                                                             (if known)



                                          STATEMENT OF FINANCIAL AFFAIRS

        1. Income from employment or operation of business
None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                            AMOUNT                                          SOURCE

            Debtor:
                         Current Year (2015):
                         $8,222.21                                        Osco Drug thru 04/10/15


                         Previous Year 1 (2014):
                         $19,768.00                                       Osco Drug


                         Previous Year 2 (2013):
                         $25,125.00                                       Osco Drug

            Joint Debtor:
                      N/A


            2. Income other than from employment or operation of business

None        State the amount of income received by the debtor other than from employment, trade, profession, operation of the
           debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
            joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
            must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)

                                AMOUNT                                        SOURCE

            Debtor:
                         Current Year (2015):
                         $4,800.00                                        retirement fund w/draw May


                         Previous Year 1 (2014):


                         Previous Year 2 (2013):
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         Joint Debtor:
                   N/A



         3. Payments to creditors

         Complete a. or b., as appropriate, and c.

None     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
        goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
         this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
         Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
         as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
         agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                               DATES OF               AMOUNT                  AMOUNT
                                                                    PAYMENTS               PAID                    STILL OWING


         Debtor:

None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
        within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
         constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*)
         any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATES OF               AMOUNT                 AMOUNT
                                                                     PAYMENTS/              PAID OR                STILL
                                                                     TRANSFERS              VALUE OF               OWING
                                                                                            TRANSFERS




None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case
        to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
         include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
         a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATE OF                AMOUNT                 AMOUNT
         AND RELATIONSHIP TO DEBTOR                                  PAYMENT                PAID                   STILL OWING




         4. Suits and administrative proceedings, executions, garnishments and attachments

None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
        preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
         information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
         and a joint petition is not filed.)separated and a joint petition is not filed.)

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date
of adjustment.
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       CAPTION OF SUIT                              NATURE OF                  COURT OR                   STATUS OR
       AND CASE NUMBER                              PROCEEDING                 AGENCY AND                 DISPOSITION
                                                                               LOCATION

       Debtor:
       Midland Funding v. Julie Hallahan           Small Claims               16th Judicial Circuit       pre-judgment
       Case Number: 14SC4273                       Collections                Kane County, Geneva
                                                                              IL

       Ameritech Mobile Communications v.          Collections                Cook County Court           judgment
       Julie Hallahan                                                         Chicago, IL
       Case Number: unknown

       Marshall Field & Company v. Julie           collection                 18th Judicial Circuit       judgment
       Hallahan                                                               DuPage County, IL
       Case Number: unknown

       Midland Funding LLC v. Julie                small claims               16th Judicial Circuit       pre-judgment
       Hallahan                                                               Geneva, Kane County
       Case Number: 14SC4274                                                  IL

       First State Bank of iL v. Julie Ann      foreclosure                   16th Judicial Circuit       pre-judgment
       Hannhan, individually and as trustee, et                               Kane County, Geneva
       al                                                                     IL
       Case Number: 14CH877


None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
      year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                                                                   DESCRIPTION
       OF PERSON FOR WHOSE                                         DATE OF                AND VALUE
       BENEFIT PROPERTY WAS SEIZED                                 SEIZURE                OF PROPERTY




       5. Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                  DATE OF REPOSSESSION,                     DESCRIPTION
       NAME AND ADDRESS                           FORECLOSURE SALE,                         AND VALUE
       OF CREDITOR OR SELLER                      TRANSFER OR RETURN                        OF PROPERTY




       6. Assignments and receiverships

None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)
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                                                                                        TERMS OF
       NAME AND ADDRESS                                          DATE OF                ASSIGNMENT
       OF ASSIGNEE                                               ASSIGNMENT             OR SETTLEMENT




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

                                          NAME AND LOCATION                                    DESCRIPTION
       NAME AND ADDRESS                   OF COURT                           DATE OF           AND VALUE
       OF CUSTODIAN                       CASE TITLE & NUMBER                ORDER             OF PROPERTY




       7. Gifts

None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
      except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
       and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
       chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                  RELATIONSHIP                                          DESCRIPTION
       OF PERSON                         TO DEBTOR,                         DATE               AND VALUE
       OR ORGANIZATION                   IF ANY                             OF GIFT            OF GIFT




       8. Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                     DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                    LOSS WAS COVERED IN WHOLE OR IN PART                            DATE
       PROPERTY                        BY INSURANCE, GIVE PARTICULARS                                  OF LOSS




       9. Payments related to debt counseling or bankruptcy

None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
      consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
       within one year immediately preceding the commencement of this case.

                                                DATE OF PAYMENT,                          AMOUNT OF MONEY OR
       NAME AND ADDRESS                         NAME OF PAYER IF                          DESCRIPTION AND
       OF PAYEE                                 OTHER THAN DEBTOR                         VALUE OF PROPERTY
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       Debtor:
       Stephanie K. Low, attorney at Law.       04/08/15                                  $100.00
       431 Williamsburg AVe                     05/12/15                                  $1,400.00
       Geneva, IL 60134                                                                   $1500 total




       10. Other transfers

None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
      the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
       this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                              DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                        TRANSFERRED AND
       RELATIONSHIP TO DEBTOR                                          DATE                   VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
      to a self-settled trust or similar device of which the debtor is a beneficiary.

                                                           DATE(S) OF          AMOUNT OF MONEY OR DESCRIPTION
       NAME OF TRUST OR OTHER                              TRANSFER(S)         AND VALUE OF PROPERTY OR DEBTOR’S
       DEVICE                                                                  INTEREST IN PROPERTY




       11. Closed financial accounts

None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
      closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
       checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
       held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
       instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)

                                                                  TYPE OF ACCOUNT, LAST FOUR                   AMOUNT AND
       NAME AND ADDRESS                                           DIGITS OF ACCOUNT NUMBER,                    DATE OF SALE
       OF INSTITUTION                                             AND AMOUNT OF FINAL                          OR CLOSING
                                                                  BALANCE

       Debtor:
       Chase Bank                                                Type of Account: Checking                    $7.00
       575 S. Randall Road                                       Account Number: 2674                         05/2015
       St. charles, IL 60174                                     Final Balance: $7.00



       12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)
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       NAME AND ADDRESS                    NAMES AND ADDRESSES               DESCRIPTION                 DATE OF
       OF BANK OR                          OF THOSE WITH ACCESS              OF                          TRANSFER
       OTHER DEPOSITORY                    TO BOX OR DEPOSITORY              CONTENTS                    OR SURRENDER,
                                                                                                         IF ANY




       13. Setoffs

None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                             DATE OF                       AMOUNT
       NAME AND ADDRESS OF CREDITOR                                          SETOFF                        OF SETOFF




       14. Property held for another person


None   List all property owned by another person that the debtor holds or controls.


       NAME AND ADDRESS                          DESCRIPTION AND
       OF OWNER                                  VALUE OF PROPERTY                        LOCATION OF PROPERTY




       15. Prior address of debtor

None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises
      which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
       filed, report also any separate address of either spouse.

       ADDRESS                                     NAME USED                               DATES OF OCCUPANCY




       16. Spouses and Former Spouses

None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
       any former spouse who resides or resided with the debtor in the community property state.

       NAME




       17. Environmental Information.
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       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
       or material.

       Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites. "

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
       material, pollutant, or contaminant or similar term under an Environmental Law.

None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental
      unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
       governmental unit, the date of the notice, and, if known, the Environmental Law:

       SITE NAME                            NAME AND ADDRESS     DATE OF                                  ENVIRONMENTAL
       AND ADDRESS                          OF GOVERNMENTAL UNIT NOTICE                                   LAW




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
      of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

       SITE NAME                           NAME AND ADDRESS     DATE OF                                   ENVIRONMENTAL
       AND ADDRESS                         OF GOVERNMENTAL UNIT NOTICE                                    LAW




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
      respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
       party to the proceeding, and the docket number.

       NAME AND ADDRESS                                                                             STATUS OR
       OF GOVERNMENTAL UNIT                                           DOCKET NUMBER                 DISPOSITION




       18 . Nature, location and name of business

None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
      and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
       which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
       the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities, within six years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
             and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
             the voting or equity securities within six years immediately preceding the commencement of this case.
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                               LAST FOUR DIGITS
                               OF SOCIAL-SECURITY                                                                       BEGINNING
                               OR OTHER INDIVIDUAL                                                                      AND
                               TAXPAYER-I.D. NO                                                 NATURE OF               ENDING
          NAME                 (ITIN)/ COMPLETE EIN             ADDRESS                         BUSINESS                DATES




None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
         defined in 11 U.S.C. § 101.

          NAME                                      ADDRESS




           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

          NAME AND ADDRESS                                                                       DATES SERVICES RENDERED




None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
         case have audited the books of account and records, or prepared a financial statement of the debtor.

          NAME                                      ADDRESS                                      DATES SERVICES RENDERED




None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the
         books of account and records of the debtor. If any of the books of account and records are not available, explain.

          NAME                                                 ADDRESS




None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
         financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

          NAME AND ADDRESS                                                                    DATE ISSUED
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       20. Inventories

None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
      taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                             DOLLAR AMOUNT
                                                                                             OF INVENTORY
                                                                                             (Specify cost, market or other
       DATE OF INVENTORY                         INVENTORY SUPERVISOR                        basis)




None   b. List the name and address of the person having possession of the records of each of the inventories reported
      in a., above.

                                                 NAME AND ADDRESSES
                                                 OF CUSTODIAN
       DATE OF INVENTORY                         OF INVENTORY RECORDS




       21. Current Partners, Officers, Directors and Shareholders

None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
      partnership.

       NAME AND ADDRESS                            NATURE OF INTEREST                        PERCENTAGE OF INTEREST




None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
      directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
       corporation.

                                                                                             NATURE AND PERCENTAGE
       NAME AND ADDRESS                            TITLE                                     OF STOCK OWNERSHIP




       22. Former partners, officers, directors and shareholders

None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
      preceding the commencement of this case.

       NAME                                      ADDRESS                                     DATE OF WITHDRAWAL




None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
      within one year immediately preceding the commencement of this case.
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       NAME AND ADDRESS                                    TITLE                                   DATE OF TERMINATION




       23 . Withdrawals from a partnership or distributions by a corporation

None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
      including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
       during one year immediately preceding the commencement of this case.


       NAME & ADDRESS                                                                        AMOUNT OF MONEY
       OF RECIPIENT,                             DATE AND PURPOSE                            OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                    OF WITHDRAWAL                               AND VALUE OF PROPERTY




       24. Tax Consolidation Group.

None   If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
      consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                                         TAXPAYER-IDENTIFICATION NUMBER (EIN)




       25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PENSION FUND                                               TAXPAYER-IDENTIFICATION NUMBER (EIN)



                                                          ******


       I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
       and any attachments thereto and that they are true and correct.



                                                                       Signature
       Date June 15, 2015                                              of Debtor      s/Julie A. Hallahan

                                                                       Signature of
                                                                       Joint Debtor
       Date                                                            (if any)

                                                  0 continuation sheets attached
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     Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
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B 8 (Official Form 8) (12/08)




                           UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF ILLINOIS
In re Julie A. Hallahan                                                       Case No.
           Debtor                                                             Chapter 7

           CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 Property No. 1
 Creditor's Name:                                          Describe Property Securing Debt:
 First State Bank Of Il                                    755 Samantha Court, Geneva IL, titled under Webster Family
                                                           Trust C/O Julie Hallahan Trustee
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain ________________________________ (for example, avoid lien using 11
 U.S.C. § 522(f)).

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt

 Property No. 2
 Creditor's Name:                                          Describe Property Securing Debt:
 Lorenzini & Associates                                    Julie Hallahan as trustee of the Webster Family Revocable
                                                           Living Trust Agreement dated 11/20/90. Current residence is
                                                           only item in the trust. Property is in foreclosure
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain ________________________________ (for example, avoid lien using 11
 U.S.C. § 522(f)).

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt
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PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed
for each unexpired lease. Attach additional pages if necessary.)
  Property No. 1
 Lessor’s Name:                          Describe Leased Property:                Lease will be Assumed pursuant
 None                                                                             to 11 U.S.C. § 365(p)(2):
                                                                                   YES            NO


I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.

Date: June 15, 2015                                                s/Julie A. Hallahan
                                                                   Signature of Debtor




                                                                   Signature of Joint Debtor
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                                              NORTHERN DISTRICT OF ILLINOIS




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          Julie A. Hallahan
                                                                                         Ý¿-» Ò±ò ÁÁÁÁÁÁÁÁÁÁÁ

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1500 flat fee includes filing fee, credit report, attorney fees and classes through Green Path




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      June 15, 2015
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                                             ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
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                             UNITED STATES BANKRUPTCY COURT

                      NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                               OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have
the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay
your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
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your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can
prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the
bankruptcy court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $75 administrative fee: Total fee $310)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both.
All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney
General acting through the Office of the United States Trustee, the Office of the United States Attorney, and other
components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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